                       Case 1:25-mj-05150-JGD
2-6   5HYLVHG86'&0$         Document 2-1              Filed 05/12/25            Page 1 of 2
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.       II                    Investigating Agency           +RPHODQG6HFXULW\,QYHVWLJDWLRQV


City    %RVWRQ                                  5HODWHG&DVH,QIRUPDWLRQ
                                                 6XSHUVHGLQJ,QG,QI                &DVH1R
County       6XIIRON
                                                 6DPH'HIHQGDQW                  1HZ'HIHQGDQW X
                                                 0DJLVWUDWH-XGJH&DVH1XPEHU 25-5150-JGD
                                                 6HDUFK:DUUDQW&DVH1XPEHU
                                                 55IURP'LVWULFWRI
Defendant Information:
                                                 ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                  K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                               <HV       ✔ 1R
'HIHQGDQW1DPH         .VHQLLD3HWURYD                                                                      -XYHQLOH      G <HV         ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU               G <HV         ✔ 1R
$OLDV1DPH
$GGUHVV               Boston Park Drive,Boston, MA
                      
%LUWKGDWH <URQO\ BBBBBB 661 ODVW BBBBB          )
                                                        6H[BBBBBB         5DFHBBBBBBBBBBBBBBB
                                                                                    White                                 Russia
                                                                                                            1DWLRQDOLW\BBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$ 1DGLQH3HOOHJULQL                                               %DU1XPEHULIDSSOLFDEOH           545606

Interpreter:              <HV        1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV        1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G             G <HV          1R

Matter to be SEALED:               ✔ <HV               1R

✔ :DUUDQW5HTXHVWHG                  5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:         ICE Detention Facility Louisiana

$rrest Date             2/16/2025 detained by ICE

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                     LQ                                         
    $OUHDG\LQ6WDWH&XVWRG\DW                                                     6HUYLQJ6HQWHQFH                  $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                                RQ

Charging Document:                  ✔ &RPSODLQW                 G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                      G 0LVGHPHDQRU                           ✔ )HORQ\ 

                                         &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH /202                            6LJQDWXUHRI$86$ V1DGLQH3HOOHJULQL
                      Case 1:25-mj-05150-JGD                        Document 2-1            Filed 05/12/25   Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant              .VHQLLD3HWURYD
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                   Count Numbers
                                                                                                                                

6HW
          U.S.C.§                                6PXJJOLQJ                                                  1

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